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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

  KALDREN LLC                               §
                                            §
  VS.                                       §             No. 5:17cv71-RWS-CMC
                                            §
  THE PROCTER & GAMBLE                      §
     .
  COMPANY                                   §

                                  ORDER OF DISMISSAL

        In accordance with Plaintiff’s Notice of Voluntary Dismissal With Prejudice Under Rule

  41(a)(1)(A)(i) (Dkt. No. 13), it is hereby ORDERED, ADJUDGED, and DECREED that this case

  is DISMISSED WITH PREJUDICE. Each party shall bear its own attorneys’ fees and costs.

        All relief not previously granted is hereby DENIED.

        The Clerk of the Court is directed to CLOSE the case.

        So ORDERED and SIGNED this 31st day of August, 2017.




                                                        ____________________________________
                                                        ROBERT W. SCHROEDER III
                                                        UNITED STATES DISTRICT JUDGE
